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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            14 Cr. 68 (KBF)

                                   Plaintiff,                        MOTION FOR RECUSAL

                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

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        Pursuant to 28 U.S.C. § 455, defendant Ross Ulbricht hereby moves the Court for an

Order recusing the court in this matter. This motion is based upon the Memorandum of Law in

Support of Motion for Recusal, the Declaration of Ross Ulbricht, and the Declaration of Paul

Grant In Support of Motion for Recusal, each of which is submitted with this motion.

Dated: 2/5/2018

                                                       Respectfully submitted,

                                                       /s/ Paul Grant
                                                       Paul Grant
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